                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

 COALITION FOR OPEN DEMOCRACY,
 et al.,
      Plaintiffs,

      v.                                                 Case No. 1:24-cv-00312-SE-TSM

 DAVID M. SCANLAN, in his official capacity
 as New Hampshire Secretary of State, et al.,
      Defendants.


                    REVISED JOINT PROPOSED DISCOVERY PLAN

       NOW COME all parties, by and through their respective counsel, and jointly move the

Court to enter the following Discovery Plan pursuant to Rule 26(f) of the Federal Rules of Civil

Procedure and Rule 26.1 of the Local Rules of the United States District Court for the District of

New Hampshire.

                        RULE 26(f) CONFERENCE INFORMATION

 DATE/PLACE OF CONFERENCE:                 By video conference on March 11, 2025 and
                                           subsequent e-mail exchanges

 PLAINTIFFS’ PARTICIPATING                 AMERICAN CIVIL LIBERTIES UNION OF NEW
 COUNSEL:                                  HAMPSHIRE FOUNDATION: Henry Klementowicz and
                                           Gilles R. Bissonnette
                                           AMERICAN CIVIL LIBERTIES UNION FOUNDATION:
                                           Jacob Van Leer, Ming Cheung, Clayton Pierce, and
                                           Sophia Lin Lakin
                                           ROPES & GRAY LLP: Desiree M. Pelletier, Geoffrey
                                           M. Atkins, and John T. Montgomery
                                           On behalf of Coalition for Open Democracy, League
                                           of Women Voters of New Hampshire, The Forward
                                           Foundation, McKenzie Nykamp Taylor, December
                                           Rust, Steven Borne (as father and next friend of
                                           Miles Borne), and Russell Muirhead (as father and
                                           next friend of Alexander Muirhead and Lila
                                           Muirhead)
DEFENDANTS’ PARTICIPATING     NEW HAMPSHIRE DEPARTMENT OF JUSTICE, OFFICE
COUNSEL:                      OF THE ATTORNEY GENERAL: Michael P. DeGrandis
                              and Catherine A. Denny
                              On behalf of New Hampshire Secretary of State
                              David M. Scanlan and New Hampshire Attorney
                              General John M. Formella, in their official
                              capacities

                            CASE SUMMARY

PLAINTIFFS:                   Coalition for Open Democracy, League of Women
                              Voters of New Hampshire, The Forward Foundation,
                              McKenzie Nykamp Taylor, December Rust, Steven
                              Borne (as father and next friend of Miles Borne),
                              and Russell Muirhead (as father and next friend of
                              Alexander Muirhead and Lila Muirhead)

DEFENDANTS:                   New Hampshire Secretary of State David M.
                              Scanlan and New Hampshire Attorney General John
                              Formella, in their official capacities

THEORIES OF LIABILITY:        Plaintiffs assert that a newly-enacted statute, 2024’s
                              HB 1569, removes the qualified voter affidavit and
                              the challenged voter affidavit previously permitted
                              in New Hampshire elections. The removal of the
                              qualified voter affidavit to prove citizenship when
                              registering to vote is an unjustified burden on the
                              right to vote in violation of the First and Fourteenth
                              Amendments. The removal of the challenged voter
                              affidavit when voting is also an unjustified burden
                              on the right to vote, and a violation of due process
                              and equal protection in violation of the Fourteenth
                              Amendment.

THEORIES OF DEFENSE:          Defendants assert that House Bill 1569 does not
                              unjustifiably burden the rights of Plaintiffs and the
                              law serves the government’s interest in ensuring the
                              integrity of New Hampshire’s elections.

DAMAGES:                      None

DECLARATORY RELIEF:           Plaintiffs seek a declaration that HB 1569 violates
                              the First and Fourteenth Amendments to the United
                              States Constitution.




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INJUNCTIVE RELIEF:             Plaintiffs seek to enjoin implementation and
                               enforcement of HB 1569.

ATTORNEYS’ FEES & COSTS:       Plaintiffs seek reasonable attorneys’ fees and costs.

DEMAND:                        None

OFFER:                         None

JURISDICTIONAL QUESTIONS:      Defendants have not yet filed their responsive
                               pleading and reserve their right to assert
                               jurisdictional challenges.

QUESTIONS OF LAW:              (1) Does HB 1569 unjustifiably burden Plaintiffs’
                               First or Fourteenth Amendment rights to vote by
                               eliminating the Qualified Voter Affidavit for
                               Citizenship?
                               (2) Does HB 1569 unjustifiably burden Plaintiffs’
                               First or Fourteenth Amendment rights to vote by
                               eliminating the Challenged Voter Affidavit?
                               (3) Does HB 1569 violate Plaintiffs’ Fourteenth
                               Amendment rights to procedural due process by
                               eliminating the Challenged Voter Affidavit?
                               (4) Does HB 1569 violate Plaintiffs’ Fourteenth
                               Amendment rights to equal protection under the law
                               by eliminating the Challenged Voter Affidavit?
                               (5) Do the Plaintiffs have standing?
                               (6) Does the Complaint state claims upon which this
                               Court may grant relief?
                               (7) Do Defendants’ affirmative defenses bar
                               Plaintiffs’ claims or their requested relief in whole or
                               in part?

TYPE OF TRIAL:                 The parties request a bench trial.

                               SCHEDULE

TRACK ASSIGNMENT:              Standard track

TRIAL DATE:                    February 9, 2026

DISCLOSURE OF CLAIMS AGAINST   Not applicable
UNNAMED PARTIES:



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AMENDMENT OF PLEADINGS:           May 9, 2025, or subsequently by leave of Court or at
                                  the Court’s invitation.

JOINDER OF ADDITIONAL PARTIES:    May 9, 2025

THIRD-PARTY ACTIONS:              May 9, 2025

MOTIONS TO DISMISS:               Plaintiffs’ surreply to the pending Motion to Dismiss
                                  will be filed on March 14, 2025. Subsequent motions
                                  to dismiss require leave of Court or the Court’s
                                  invitation.

EXPERT DISCLOSURES, WRITTEN       Plaintiffs’ Expert Disclosures & Written Reports:
REPORTS & SUPPLEMENTATIONS:       June 4, 2025
                                  Defendants’ Expert Disclosures & Written Reports:
                                  August 22, 2025
                                  Expert Rebuttal Reports: September 19, 2025
                                  Supplementations per Fed. R. Civ. P. 26(e)

COMPLETION OF DISCOVERY:          September 22, 2025

MOTIONS FOR SUMMARY JUDGMENT:     October 10, 2025

CHALLENGES TO EXPERT              November 10, 2025
TESTIMONY:
                                 DISCOVERY

DEFENDANTS’ OBJECTION:            Defendants filed a Motion to Dismiss asserting that
                                  Plaintiffs lack standing and that the Complaint fails
                                  to state claims upon which the Court may grant
                                  relief. ECF No. 36. Plaintiffs have objected to the
                                  Motion. ECF No. 45.
                                  This Revised Joint Proposed Discovery Plan does
                                  not waive Defendants’ rights to object to discovery
                                  for lack of standing and subject-matter jurisdiction,
                                  while their Motion to Dismiss is pending.

TIMING OF DISCOVERY:              Written discovery (i.e., discovery exclusive of
                                  depositions) is currently underway.
                                  The parties have agreed to a rolling production of
                                  documents to begin the earlier of: (i) the Court’s
                                  resolution of Defendants’ currently pending Motion
                                  to Dismiss; or (ii) April 14, 2025.


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                                     Depositions may commence upon the earlier of
                                     (i) the Court’s ruling on Defendants’ currently
                                     pending Motion to Dismiss; (ii) July 22, 2025; (iii)
                                     the parties’ agreement; or (iv) leave of Court.

DISCOVERY NEEDED:                    Plaintiffs: Plaintiffs anticipate serving written
                                     discovery and taking depositions. Plaintiffs seek, for
                                     example, all documents, records, communications,
                                     and other information stored in any form
                                     (“Discoverable Material”) to the extent permitted by
                                     Fed. R. Civ. P. 26(b)(1), including Discoverable
                                     Material related to Defendants’ assertion that
                                     HB 1569 is constitutional.
                                     Defendants: Defendants anticipate serving written
                                     discovery and taking depositions. Defendants seek
                                     all Discoverable Material to the extent permitted by
                                     Fed. R. Civ. P. 26(b)(1), including Discoverable
                                     Material upon which the Complaint bases its factual
                                     allegations and as needed for Defendants to support
                                     their affirmative defenses.
                                     The Parties intend to move the Court to enter an
                                     appropriate stipulation governing the confidentiality
                                     of material produced by the parties in discovery.
                                     Plaintiffs have requested production of the New
                                     Hampshire Statewide Voter Registration System
                                     (“SVRS”). Defendants have denied the request. The
                                     parties met and conferred in good faith but without
                                     resolution, so Plaintiffs will seek to compel SVRS
                                     production.
                                     The Parties expressly reserve their rights to object to
                                     any discovery including, but not limited to,
                                     interrogatories, requests for production of
                                     documents, and requests for admission (“Discovery
                                     Requests”), as unduly burdensome or irrelevant,
                                     including the subject matters identified by the parties
                                     herein, and to object on any other good faith
                                     applicable basis.

INITIAL DISCLOSURES | FED. R. CIV.   Plaintiffs: Plaintiffs disclosed all information as
P. 26(a)(1):                         required by Fed. R. Civ. P. 26(a)(1) on February 7,
                                     2025.
                                     Defendants: Defendants disclosed all information as
                                     required by Fed. R. Civ. P. 26(a)(1) on February 17,
                                     2025.

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                              The parties will Bates stamp documentary
                              mandatory disclosures and produce them in
                              accordance with the terms to which they agreed in
                              “Requests for Production of Documents” and
                              “Electronic Information Disclosures” below.

PRESERVATION OF DOCUMENTS &   The parties have preserved and will continue to
INFORMATION:                  preserve all Discoverable Material in their
                              possession, custody, or control from January 1, 2016
                              to present.
DOCUMENT COLLECTION:          On or before this Court’s entry of a scheduling
                              order, the parties will meet and confer regarding
                              possible custodians, locations, and retained forms of
                              Discoverable Material, and negotiate reasonable
                              search terms for ESI, if applicable.

INTERROGATORIES:              Plaintiffs may propound a maximum of 25
                              interrogatories on each Defendant, and Defendants
                              may propound a maximum of 25 interrogatories on
                              each Plaintiff.
                              Responses will be due 30 days after service unless
                              otherwise agreed to pursuant to Fed. R. Civ. P. 29.

REQUESTS FOR PRODUCTION OF    The parties will scan all non-ESI documents into
DOCUMENTS:                    electronic form and will produce such documents in
                              accordance with the terms to which they agreed in
                              “Electronic Information Disclosures” below, to the
                              extent possible.
                              Written responses will be due 30 days after service
                              unless otherwise agreed to pursuant to Fed. R. Civ.
                              P. 29. Document production will be provided on a
                              rolling basis.

REQUESTS FOR ADMISSION:       Responses will be due 30 days after service unless
                              otherwise agreed to pursuant to Fed. R. Civ. P. 29.

DEPOSITIONS:                  Plaintiffs may take a maximum of 10 depositions on
                              each Defendant, including fact and expert
                              depositions, and Defendants may take a maximum of
                              10 depositions on each Plaintiff, including fact and
                              expert depositions.
                              Each deposition will be limited to seven hours unless
                              extended by agreement of the parties. Fed. R. Civ.
                              P. 30(a)(2)(B).


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ELECTRONIC INFORMATION                 The parties will produce ESI, if any, in .dat load files
DISCLOSURES | FED. R. CIV. P. 26(f):   using standard delimiters, Bates stamped, as single
                                       page .pdf with an accompanying .opt file. The
                                       parties have agreed to include the following
                                       metadata fields within the .dat load file: <Begin
                                       Bates> <End Bates> <Pages> <BeginFamily>
                                       <EndFamily> <Placeholder> <File Extension>
                                       <NativePath> <TextPath> <Author> <From> <To>
                                       <Bcc> <Cc> <Subject> <Title> <Custodian>
                                       <Date> <Date Sent> <File Path> <Filename>
                                       <MD5 Hash> <SHA1 Hash>. OCR/extracted text,
                                       native files, and images will be provided in separate
                                       folders matching Bates numbers, with a reference to
                                       the location contained within the .dat file.

DISCLOSURE EXEMPTIONS | FED.           If any party asserts that a privilege, doctrine, statute,
R. 26(b)(5) & FED R. 26(f)(3)(D):      or rule exempts any Discoverable Material from an
                                       answer or production, in whole or in part, the
                                       asserting party will produce a privilege log with
                                       sufficient information for the receiving party to
                                       assess the claim of privilege without revealing the
                                       exempted information itself. A privilege log must, at
                                       a minimum: (i) state the basis for withholding each
                                       category of Discoverable Material; (ii) sufficiently
                                       describe the subject matter of each category to
                                       permit the other party to evaluate the nondisclosure
                                       claim; (iii) identify the date range; and (iv) provide
                                       an aggregate list of all persons privy to the
                                       undisclosed Discoverable Material.
                                       The parties will not schedule Discoverable Material
                                       that is subject to a disclosure exemption in a
                                       privilege log where the Discoverable Material post-
                                       dates the filing of the Complaint (ECF No. 1),
                                       September 30, 2024.
                                       If any party inadvertently discloses Discoverable
                                       Material subject to a disclosure exemption, the
                                       inadvertent production shall not constitute waiver of
                                       the protection and the producing party may demand
                                       prompt return or destruction the exempted
                                       Discoverable Material if the disclosure so qualifies
                                       under Fed. R. Evid. 502(b).

STIPULATION REGARDING EVIDENCE         Not applicable
PROTECTIONS | FED. R. CIV. P. 26(f):



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                                 OTHER ITEMS

SETTLEMENT POSSIBILITIES:         Settlement is not possible.

JOINT STATEMENT RE: MEDIATION:    Mediation is not possible.

TRIAL ESTIMATE:                   10 days

WITNESSES & EXHIBITS:             Witness and exhibit lists, included in final pretrial
                                  statements, are due 10 days before final pretrial
                                  conference but not less than 30 days before trial.
                                  Objections are due 14 days after filing of final
                                  pretrial statements.

PRELIMINARY PRETRIAL              To be scheduled. The parties believe a preliminary
CONFERENCE:                       pretrial conference could be helpful.

OTHER MATTERS:                    Defendants’ Motion to Dismiss is pending and
                                  Plaintiffs will file a surreply on March 14, 2025.
                                  The parties have reached an impasse regarding
                                  production of New Hampshire’s SVRS database, so
                                  Plaintiffs will move to compel production.

                                       Respectfully submitted,
                                       DEFENDANTS DAVID M. SCANLAN and
                                       JOHN M. FORMELLA, in their official
                                       capacities
                                       By their attorney,
                                       JOHN M. FORMELLA
                                       ATTORNEY GENERAL

     Date: March 14, 2025               /s/ Michael P. DeGrandis
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                                                COALITION FOR OPEN DEMOCRACY,
                                                LEAGUE OF WOMEN VOTERS OF NEW
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                                                FOUNDATION, MCKENZIE NYKAMP
                                                TAYLOR, DECEMBER RUST, STEVEN
                                                BORNE (as father and next friend of MILES
                                                BORNE), and RUSSELL MUIRHEAD (as
                                                father and next friend of ALEXANDER
                                                MUIRHEAD and LILA MUIRHEAD)
                                                By their attorneys,

                                                 /s/ Henry Klementowicz
 Jacob Van Leer*                                Henry Klementowicz, N.H. Bar No. 21177
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                                                         * Admitted pro hac vice

                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all parties of record through
the Court’s e-filing system.

                                              /s/ Michael P. DeGrandis
                                              Michael P. DeGrandis



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